Case 2:09-cr-00369-MCA          Document 553        Filed 04/17/13     Page 1 of 3 PageID: 23238




                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY



   UNITED STATES OF AMERICA,

                           Plaintiff,                   CRIMINAL NO. 09-369 - 02 DMC

           v.

   YOLANDA JAUREGUI,
                                                     REPORT AND RECOMMENDATION
                           Defendant.




          This matter having come before the Court by way of referral from the Hon. Dennis M.

  Cavanaugh to conduct a proceeding pursuant to Fed. R. Crim. P. 11 and to issue a report and

  recommendation regarding the defendant's entry of a guilty plea; and the Court having considered

  the written consent by the defendant and her counsel to have the proceeding before the Undersigned;

  and the Undersigned having conducted a proceeding pursuant to Fed. R. Crim. P. 11; and as more

  fully set forth and reflected in the transcript of proceedings dated April 17, 2013, the Court makes

  the following report:

          1.     The defendant consented to a guilty plea before a United States Magistrate Judge,

  subject to her ability to file any written objections to the findings and recommendations contained

  in this report and orally stated at the Rule 11 proceeding and subject to its adoption by the United

  States District Judge;

         2.      The defendant fully understood the oath and consequences of failing to tell the truth

  at the plea hearing;
Case 2:09-cr-00369-MCA           Document 553        Filed 04/17/13         Page 2 of 3 PageID: 23239




          3.      The defendant fully understood the nature of the charges and consequences of her

  guilty plea, including the maximum penalties that she faces;

          4.      The defendant fully understood that while the United States Sentencing Guidelines

  are not binding, they will be considered;

          5.      The defendant fully understood her right to plead "not guilty" and to be tried by a

  jury, with the assistance of counsel, and that she would have the right to confront and cross-examine

  witnesses, call witnesses and compel the production of evidence if she so chooses, and to remain

  silent or testify, if she so chooses;

          6.      The defendant fully understood that if the guilty plea is accepted, then there would

  be no trial in this case;

          7.      The defendant was fully competent and capable of entering an informed guilty plea;

          8.      The defendant's waiver of her right to appeal and file a post -conviction challenge,

  and her plea were free, knowing, and voluntary; and

          9.      There is a factual basis to support the plea of guilty.

          Based upon the foregoing, and based upon the transcript of the proceedings, it is on this 17th

  day of April, 2013, recommended to the United States District Judge that the defendant's plea of

  guilty be accepted and a judgment of guilty to Count 1, Count 2 and Count 3 of the Superceding

  Indictment be entered.




                                                         MARKFALK
                                                         United States Magistrate Judge


                                                     2
Case 2:09-cr-00369-MCA   Document 553   Filed 04/17/13   Page 3 of 3 PageID: 23240




                                   NOTICE

       FAILURE TO FILE WRITTEN OBJECTIONS TO THE FINDINGS AND
       RECOMMENDATIONS CONTAINED IN THE FOREGOING REPORT,
       WITHIN TEN DAYS OF RECEIPT OF SAME, MAY BAR DE NOVO
       DETERMINATION BY THE UNITED STATES DISTRICT JUDGE OF AN
       ISSUE COVERED HEREIN AND SHALL BAR APPELLATE REVIEW OF
       SUCH FACTUAL FINDINGS AS MAY BE ACCEPTED OR ADOPTED BY
       THE UNITED STATES DISTRICT JUDGE.




                                        3
